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                      Exhibit U
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UNITED STATES DISTRICT COURT                                                       DOC#: _ _ _ _ _ __
SOUTHERN DISTRICT OF NEW YORK                                                      DA TE FILED: 12/22/2017
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                                                                               16-MC-125 (JMF)
In re Application of ACCENT DELIGHT
INTERNATIONAL LTD. and XITRANS FINANCE LTD.
                                                                         MEMORANDUM OPINION
for an Order Under 28 U.S.C. § 1782 to
                                                                             AND ORDER
Conduct Discovery for Use in Foreign Proceedings
-------- -------------- -------------------------------------------X


JESSE M. FURMAN, United States District Judge:

       This case, familiarity with which is a presumed, is a small piece of a larger dispute between

Petitioners Accent Delight International Ltd. and Xitrans Finance Ltd. and their principal, Dmitry

Rybolovlev, on the one hand, and Intervenors Yves Bouvier and MEI Invest Ltd., on the other. In

the larger dispute, Petitioners allege that Bouvier defrauded them in connection with the purchase of

a world-class art collection, to the tune of approximately one billion dollars. Perhaps not

surprisingly, given the amount of money at stake and the international flavor of the personalities

and transactions involved, the parties' dispute has been, or is, the subject of litigation, civil and

criminal, in various fora around the world -    including Singapore, Switzerland, France, and

Monaco. In earlier proceedings, the Court granted Petitioners' application, pursuant to Title 28,

United States Code, Section 1782, for discovery in aid of the proceedings pending in Monaco. See

In re Application ofAccent Delight Int'! Ltd., No. 16-MC-125 (JMF), 2016 WL 5818597 (S.D.N.Y.

Oct. 5, 2016). Over Intervenors' objection, the Court authorized Petitioners to use the discovery

materials in connection with the proceedings in France and Singapore as well, but provided in a

Protective Order that Petitioners could not use the materials "in other legal proceedings" absent

leave of Court. (Docket No. 84 ("Protective Order"), at 11 5 .1-5 .2). On appeal, the Second Circuit

affirmed, rejecting Intervenors' argument that the Court had erred in allowing Petitioners to use the

materials beyond Monaco. See In re Accent Delight Int 'l Ltd., 869 F .3d 121, 133-36 (2d Cir. 2017).
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       Petitioners now move for an order authorizing them to use the discovery materials in

connection with (1) a proceeding recently initiated by lntervenors and Respondent Sotheby's, Inc.

("Sotheby's") in Switzerland and (2) a proceeding that Petitioners are preparing to initiate against

Intervenors and Sotheby's in the United Kingdom. (See Docket No. 108 ("Pet'rs' Mem."), at 4-5;

Docket No. 121 ("Pet'rs' Reply"), at 1). Relying on the Second Circuit's opinion, they contend that

they should be able to use the discovery material they obtained in connection to the proceedings in

Monaco because they are not proceeding in bad faith. (Pet'rs' Mem. 3). By contrast, Intervenors

and Sotheby's acknowledge that this Court has discretion to allow Petitioners to use the discovery

material in other proceedings, but contend that the Court should apply the requirements of Section

1782 anew in exercising that discretion. (See Docket No. 117 ("Resp't's Opp'n"), at 4-6; see also

Docket No. 116 ("Intervenors' Opp'n"), at 11-13). In the alternative, they assert that Petitioners'

prospective United Kingdom action, coming on the heels of a spate of other actions in various

international fora, does evince bad faith. (Intervenors' Opp'n 13-16; see also Resp't's Opp'n 10).

       Petitioners have the better of the arguments. First, Intervenors' and Sotheby's principal

contention - that the Court should engage in another full-blown Section 1782 analysis -       cannot

be squared with the Circuit's decision on appeal. In fact, the Court of Appeals explicitly rejected a

nearly identical argument to the one that Intervenors and Sotheby's make here, that "a Section 1782

applicant must satisfy the statutory requirements for each foreign proceeding for which he or she

wishes to use the requested discovery." 869 F.3d at 133. The Court reasoned that the statute

"entrusts to the district courts many decisions about the manner in which discovery under the statute

is produced, handled, and used" and that there was "no reason why the number or identity of the

foreign proceedings in which a successful applicant may use discovery produced pursuant to the

statute would fall outside that discretionary grant." Id. at 134. In addition, the Court looked for

guidance to the Federal Rules of Civil Procedure, which "do not regulate what litigants may do with

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discovery after it lawfully has been obtained." Id. at 135. Accordingly, the Court concluded,

"Section 1782 does not prevent an applicant who lawfully has obtained discovery under the statute

with respect to one foreign proceeding from using the discovery elsewhere unless the district court

orders otherwise." Id.

        Of course, the Court did enter a protective order in this case and that protective order

provides that Petitioners may not, without leave of Court, use the materials they obtained beyond

the proceedings in Monaco, France, and Singapore. (Protective Order ,r,r 5.1-5.2). Normally, the

burden would be on a party seeking to modify the terms of a protective order -       here, Petitioners -

to justify such modification. See, e.g., In re Sept. 11 Litig., 262 F.R.D. 274, 277 (S.D.N.Y. 2009)

(requiring the party seeking to modify a protective order "to show improvidence in the grant of a

Rule 26(c) protective order or some extraordinary circumstance or compelling need." (internal

quotation marks omitted)). In this case, however, the Court concludes that Petitioners should be

allowed to use the materials unless Intervenors and Sotheby's can establish bad faith or some other

abuse of process. That is the case for two reasons. First, Intervenors and Sotheby's do not argue

that the burden should be placed on Petitioners. As noted, they argue that Petitioners' motion

should be denied for failure to satisfy Section 1782; in the alternative, they contend that Petitioners

are proceeding in bad faith. Thus, they have waived any argument that the burden should be placed

upon Petitioners. Second, and in any event, the Court imposed the limitation in the protective order

-   despite having previously rejected Intervenors' argument "that the use and disclosure of any

subpoenaed documents should be limited to the foreign proceeding for which [they have] been

authorized," Accent Delight Int'/ Ltd., 2016 WL 5818597, at *3 -based in large part on the lack of

clarity with respect to what limits, if any, Section 1782 places on an applicant's right to use

discovery obtained pursuant to the statute in other proceedings. (See Docket No. 115 ("Levy

Deel."), Ex. D, at 3-4). Now that the Circuit has clarified the law, the original justification for that

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limitation is no longer extant. Thus, exercising its discretion under the statute, the Court concludes

that Petitioners should be permitted to use the discovery they obtained in connection with the

proceedings in Switzerland and the United Kingdom unless Intervenors and Sotheby's can show

bad faith or other "chicanery." In re Accent Delight Int'! Ltd., 869 F.3d at 135 (observing that

"parties concemed in a particular case that a Section 1782 applicant is attempting to use foreign

litigation as a ruse for obtaining discovery for use in other foreign proceedings can and should bring

evidence of such chicanery to the Section 1782 court's attention" and that, "[s]hould such evidence

exist, it could provide good cause for entry of a protective order prohibiting use of the discovery in

other proceedings (internal quotation marks and brackets omitted)). 1

        Although Intervenors do attempt to make such a showing -        arguing that Plaintiffs have

demonstrated bad faith in seeking to initiate "frivolous [or] vexatious" legal action in the United

Kingdom (Intervenors' Opp'n 13-16)- they fall short. The main evidence Intervenors provide for

the frivolous or vexatious nature of the litigation is the history of Petitioners' legal adventures

abroad. (Id. at 14-15; see also Resp't's Opp'n 10). It is true that this litigation has taken the parties

to various international fora, including France, Monaco, Singapore, and Switzerland, but, as noted,

that is unsurprising given the international nature of the parties and transactions involved. (See

Pet'rs' Reply 6). Moreover, the Court previously authorized use of the discovery materials in three

of those four fora and, when it did so, Intervenors made no claim of bad faith. See See In re Accent

Delight Int'! Ltd., 869 F.3d at 135-36 ("Bouvier does not argue that Petitioners initiated or sought

discovery for use in the Monegasque, Singaporean, or French proceedings in bad faith. We are

confident that Bouvier would have presented any such evidence to the district court."). Finally,


        That said, in view of the history of this case, the Court leaves the protective order in place.
That is, should Petitioners wish to use the discovery they obtained in some new proceeding in yet
another forum, they will need to apply to the Court for leave to do so, and Intervenors and
Respondents will be given an opportunity to demonstrate bad faith.

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Intervenors do not argue that Petitioners are acting in bad faith by seeking to bring suit against

Sotheby's UK in the United Kingdom (Intervenors' Opp'n 15), and Petitioners provide good

reasons for doing so (see Pet'rs' Reply 2-3). 2 Among other things, Petitioners allege (and

Intervenors and Sotheby's do not dispute) that Petitioners learned new facts about Sotheby's

conduct in the underlying events from documents produced in discovery under the prior Section

1782 authorization, that those facts give rise to colorable claims against Sotheby's UK, and that the

United Kingdom is the forum best suited to adjudicating those claims. (Pet'rs' Mem. 1-2, 4). 3 The

Court therefore grants Petitioners' request to use the discovery materials they previously obtained

under Section 1782 in their contemplated legal proceedings in the United Kingdom. The Court

likewise grants Petitioners' request to use the materials in the conciliation proceedings recently filed

in Switzerland. (See Pet'rs' Reply 7-8). As Intervenors and Sotheby's are the ones who initiated

those proceedings (see lntervenors' Opp'n 10), they cannot plausibly allege bad faith on that front.

       That leaves one final issue: Intervenors' and Sotheby's requests to keep under seal

Paragraphs 13 through 18 of the Declaration of Michael Edwards (including the headings before

and within those paragraphs) as well as Exhibits E through Q to that Declaration. (See Intervenors'

Opp'n 20-21; Resp't's Opp'n 11; Docket No. 110). Although there is a presumption in favor of

public access to judicial documents, the Court did not need to reference or otherwise rely on the


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         As evidence of Petitioners' bad faith post-dating the Second Circuit's decision, Intervenors
point to the fact that Petitioners recently filed suit in Switzerland in the Canton of Bern rather than
Geneva, alleging they did so in the hopes that Switzerland would decline to exercise jurisdiction
over the case (a fact that might favor Petitioners in the Singaporean litigation). (See Intervenors'
Opp'n 8-9). But Intervenors provide no actual evidence of such a motivation. Nor do they show
that the Swiss judicial system regularly declines jurisdiction altogether over cases filed in the wrong
canton rather than transferring such cases to the correct canton, as appears to have already occurred
in this case. (See id.; Levy Deel., Ex. H).

       Whether Bouvier himself would properly be joined in the United Kingdom action is
arguably less clear. (See Intervenors' Opp'n 16). Having found no bad faith in Petitioners'
decision to bring suit against Sotheby's UK in the United Kingdom, however, this Court leaves it to
the English courts to determine whether Bouvier is properly joined in that action.
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Edwards Declaration or Exhibits E through Q in reaching its decision. At best, the weight of any

presumption is, therefore, limited. See Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119

(2d Cir. 2006) ("[T]he weight to be given the presumption of access must be governed by the role of

the material at issue in the exercise of Article III judicial power and the resultant value of such

information to those monitoring the federal courts." (quoting United States v. Amodeo, 71 F.3d

1044, 1049 (2d Cir. 1995))). The Court therefore grants lntervenors' and Sotheby's request to keep

Paragraphs 13 through 18 and Exhibits E through Q under seal. Intervenors and Sotheby's do not

object to the unsealing of the remainder of the Edwards Declaration or to Petitioners' filing their

Memorandum of Law and Reply Memorandum in unredacted form. (See Intervenors' Opp 'n 20, 23

n.8; Resp't's Opp'n 11-19; see also Docket No. 126, at 3; Docket No. 127, at 2-3). Accordingly,

Petitioners shall promptly file on ECF (1) unredacted versions of their Memorandum of Law and

Reply Memorandum, and (2) a version of the Edwards Declaration in which all but Paragraphs 13

through 18 and Exhibits E through Q are unredacted. Petitioners shall promptly file an unredacted

copy of the Edwards Declaration and all Exhibits thereto with the Sealed Records Department.

       The Clerk of Court is directed to terminate Docket No. 106.


       SO ORDERED.

Dated: December 22, 2017
       New York, New York
                                                           United States District Judge




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